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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                            Chapter 11

 YELLOW CORPORATION, et al.,                       Case No. 23-11069 (CTG)
                                                   (Jointly Administered)
                  Debtors.
                                                   Re: D.I. 968


                 OBJECTION AND RESERVATION OF RIGHTS TO
          DEBTORS’ NOTICE OF POTENTIAL ASSUMPTION OR ASSUMPTION
             AND ASSIGNMENT OF CERTAIN CONTRACTS OR LEASES
              ASSOCIATED WITH THE NON-ROLLING STOCK ASSETS

          R.L.R. Investments, L.L.C. (“RLR”) and R.L. Roberts, L.L.C. (“RL Roberts” and together

with RLR, “R+L”), by and through undersigned counsel, hereby file this objection and reservation

of rights (“Objection”) to the Notice of Potential Assumption or Assumption and Assignment of

Certain Contracts or Leases Associated With the Non-Rolling Stock Assets [D.I. 968] (“Cure

Notice”) on the grounds that the Cure Notice fails to cure all pre- and post-petition amounts owed

to R+L pursuant to 11 U.S.C. §§ 365(b)(1), 503(b)(1), and 365(d)(5). In support of its Objection,

R+L respectfully states as follows:

                                         BACKGROUND

          1.     On August 6, 2023 (“Petition Date”), each of the Debtors filed voluntary petitions

for relief under chapter 11 of Title 11 of the United States Code (“Bankruptcy Code”). These

chapter 11 cases have been consolidated for procedural purposes only and are being jointly

administered pursuant to Bankruptcy Rule 1015(b). See [D.I. 169]. The Debtors are operating their

businesses and maintaining their assets as debtors in possession pursuant to 11 U.S.C. §§ 1107(a)

and 1108.
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           2.        Prior to the Petition Date, the Debtors and R+L entered into certain real property

leases (collectively, the “Leases”) for five separate properties identified below (collectively, the

“Properties”):

                    2843 County Road II, Neenah, WI 54956
                    1892 Airport Industrial Park Drive, Marietta, GA 30060
                    2100 Rochester Drive, Montgomery, IL 60538
                    1212 O’Neil Highway, Dunmore, PA 18512-1708
                    3901 East Broadway, Spokane, WA 99202

           3.        As of the date of this Objection, the Debtors are in default under the Leases due to

their failure to make those certain rent, real estate tax, and late fee payments, listed by property as

follows:

       Property          August      August 2023      2022 Real        Late Fee         Interest       Total
                        2023 Base    Real Estate     Estate Taxes       (5%)
                          Rent         Taxes           True Up
    Neenah, WI          $46,123.75     $5,500.00            $0.00       $2,581.19        $2,101.00    $56,305.93
    Marietta, GA       $115,295.65     $9,100.00            $0.00       $6,219.78        $5,251.86   $135,867.30
    Montgomery, IL      $64,861.53     $5,000.00        $2,699.48       $3,628.05        $2,954.53    $79,143.59
    Dunmore, PA         $28,827.35     $9,000.00            $0.00       $1,891.37        $1,313.12    $41,031.84
    Spokane, WA         $26,091.52     $2,550.10            $0.00       $1,432.08        $1,188.50    $31,262.20
                                                                                             Total   $343,610.86

           4.        Additionally, the Leases require the Debtors to perform various maintenance

obligations with respect to the Properties. In particular, Section 9 of the Leases 1 provides in

pertinent part:

           Tenant at its cost shall maintain, and repair in a good and safe operating condition,
           all portions of the Leased Premises including, but not limited to, repair of the
           building structure, roof, yard, fence and underground utilities, windows, doors,
           dock doors, dock levelers, entrances and vestibules, and all electrical, mechanical,
           HVAC, plumbing and other fixtures and systems located within the Leased
           Premises, including the sprinkler system servicing the Leased Premises. At the
           expiration of the Term of this Lease, or upon prior termination, Tenant shall
           surrender the Leased Premises to Landlord in the same condition as received,
           normal wear and tear and damage by casualty and condemnation excepted.

           5.        Further, Section 22 of the Leases provides in pertinent part:


1
    Comparable language appears in Section 10 of the Lease related to the Spokane, WA Property.


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         It shall be the obligation of Tenant, at its sole cost and expense, to have required
         annual maintenance performed on the Fuel Tank (and provide Landlord evidence
         thereof) and keep the Fuel Tank in good state and condition of repair, free from
         leaks and in compliance in all materials respects with applicable Laws.

         6.       Additionally, the Leases provide that the Debtors are responsible for environmental

remediation for the Properties. In particular, Section 21 of the Leases 2 provides in pertinent part:

         Except to the extent arising from Landlord’s gross negligence or willful
         misconduct . . . Tenant shall indemnify, protect, defend and hold Landlord and
         Landlord’s mortgagees from time to time harmless from all claims, demands,
         liabilities, damages, fines, encumbrances, liens, losses, costs and expenses,
         including reasonable attorney’s fees and disbursements, and costs and expenses of
         investigations and remedial action, arising from or related to the existence of
         Hazardous Substances in or on the Leased Premises, or any adjacent or nearby
         properties or buildings, as a result of the acts or omissions of Tenant, its employees,
         agents, contractors, customers, visitors, invitees, or licensees, subtenants or those
         for whom in law the Tenant is responsible, and Tenant shall be responsible for any
         remediation of environmental contamination required by applicable orders,
         directives, laws, statues, ordinances, rules or regulations of local, state, provincial,
         federal or other governmental or quasigovernmental authorities with respect thereto
         arising prior to or during the Term of this Lease. The obligations contained in this
         Section 21 shall survive the expiration or earlier termination of this Lease.

         7.       Based upon recent inspections of the Properties by R+L, the Debtors failed to fulfill

myriad maintenance and repair obligations that R+L estimates will cost in excess of $2,100,000.00

to remedy, including without limitation various necessary repairs to roofing, lighting, and loading

docks. The estimated cost of repairing the Properties is as follows: 3

      Lessor                 Debtor                        Property Address            Est. Repair Cost
    RLR            USF Holland Inc.                       Neenah, WI                                $0.00
    RLR            YRC Inc.                               Marietta, GA                      $1,750,000.00
    RL Roberts     YRC Inc.                               Montgomery, IL                      $350,000.00
    RL Roberts     New Penn Motor Express, Inc.           Dunmore, PA                               $0.00
    RLR            USF Reddaway Inc.                      Spokane, WA                               $0.00
                                                                         Total              $2,100,000.00




2
  Comparable language appears in Section 22 of the Lease related to the Spokane, WA Property.
3
  R+L reserves the right to assert additional repair costs associated with the Properties as its assessment and
investigation continues.


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         8.       Based upon recent Phase I inspections of the Properties by R+L, the Debtors caused

or failed to prevent numerous environmental hazard issues on four of the five Properties that R+L

estimates will cost in excess of $2,215,000.00 to remedy. R+L also determined that Phase II

inspections of these Properties are also necessary. The estimated cost of remediating the Properties

is as follows:4

      Lessor                 Debtor                           Property Address            Remediation Cost
    RLR            USF Holland Inc.                          Neenah, WI                          $25,000.00
    RLR            YRC Inc.                                  Marietta, GA                     $2,050,000.00
    RL Roberts     YRC Inc.                                  Montgomery, IL                           $0.00
    RL Roberts     New Penn Motor Express, Inc.              Dunmore, PA                        $100,000.00
    RLR            USF Reddaway Inc.                         Spokane, WA                         $45,000.00
                                                                            Total             $2,220,000.00

         9.       On October 26, 2023, the Debtors filed the Cure Notice identifying those executory

contracts and unexpired leases that may be assumed by the Debtors and assigned to third-parties

pursuant to Section 365 of the Bankruptcy Code and the amounts that the Debtors assert must be

paid to cure any defaults under each of the Leases (“Cure Costs”). The Cure Notice lists Cure

Costs with respect to the Leases as follows:

      Lessor                 Debtor                           Property Address          Proposed Cure Cost
    RLR            USF Holland Inc.                          Neenah, WI                          $51,624.00
    RLR            YRC Inc.                                  Marietta, GA                       $124,396.00
    RL Roberts     YRC Inc.                                  Montgomery, IL                      $69,862.00
    RL Roberts     New Penn Motor Express, Inc.              Dunmore, PA                         $37,827.00
    RLR            USF Reddaway Inc.                         Spokane, WA                         $28,642.00
                                                                            Total               $312,351.00

         10.      Based upon the above additional amounts due under the Leases, the total Cure Cost

for the Properties are at least as follows:

      Lessor                 Debtor                           Property Address             Total Cure Cost
    RLR            USF Holland Inc.                          Neenah, WI                           $81,305.93
    RLR            YRC Inc.                                  Marietta, GA                      $3,935,867.30

4
  R+L reserves the right to assert additional remediation costs associated with the Properties as its assessment and
investigation continues.


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 RL Roberts      YRC Inc.                              Montgomery, IL                     $429,143.59
 RL Roberts      New Penn Motor Express, Inc.          Dunmore, PA                        $141,031.84
 RLR             USF Reddaway Inc.                     Spokane, WA                         $76,262.20
                                                                        Total           $4,663,610.86

                                            OBJECTION

  I.    The Debtors’ proposed Cure Costs fail to cure all monetary defaults under the
        Leases.

        11.     The Leases cannot be assumed unless the Debtors cure all defaults under such

Leases, including the Debtors’ unperformed maintenance and environmental remediation

obligations. Section 365(b)(1)(A) of the Bankruptcy Code requires that a debtor must either “cure”

existing defaults under the agreement or provide “adequate assurance” that it will “promptly cure”

existing defaults as a condition to the assumption of an executory contract or unexpired lease. See

11 U.S.C. § 365(b)(1)(A).

        12.     “Cure is a critical component of assumption.” In re Thane Int’l, Inc., 586 B.R. 540,

549 (Bankr. D. Del. 2018). “The language and intent behind § 365 is decisive . . . [and it] was

clearly intended to insure that the contracting parties receive the full benefit of their bargain if they

are forced to continue performance.” Id. (citing In re Superior Toy & Mfg. Co., Inc., 78 F.3d 1169,

1174 (7th Cir. 1996)). “If the trustee is to assume a contract or lease, the court will have to ensure

that the trustee’s performance under the contract or lease gives the other contracting party the full

benefit of his bargain.” Id. (citation omitted). “[T]he term ‘full benefit of his bargain’ refers to ‘the

full amount due’ under the contract or lease in question, as opposed to liabilities solely for future

performance.” Id.

        13.     Here, the Cure Costs proposed by the Debtors understate the amounts necessary to

cure all defaults under the Leases. Specifically, the Cure Costs fail to include any amounts due on

account of the Debtors’ unperformed maintenance and repair obligations, environmental liability




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obligations, late fees, or accrued interest. The amount necessary to cure all known defaults under

the Leases totals not less than $4,658,610.86. The Debtors may not assume and assign the Leases

unless and until the full cure amounts owed under the Leases are paid.

 II.      The prevailing bidder for the Leases must provide R+L with adequate assurance of
          its future performance under the Leases.

          14.    R+L reserves all rights to file a supplemental objection upon the selection of the

winning bidder for the Leases on the grounds that any assumption and assignment of the Leases

must be conditioned on R+L receiving adequate assurance of future performance by the prevailing

bidder.

          15.    Section 365(f)(2)(B) of the Bankruptcy Code states that a debtor may assign an

executory contract or unexpired lease only where adequate assurance of future performance by the

assignee of such contract or lease is provided, whether or not there has been a default in such

contract or lease. 11 U.S.C. § 365(f)(2)(B). “The statutory requirement of ‘adequate assurance of

future performance by the assignee’ affords ‘needed protection to the non-debtor party because the

assignment relieves the trustee and the bankruptcy estate from liability for breaches arising after

the assignment.’” In re Fleming Cos., 499 F.3d 300, 305 (3d Cir. 2007) (citing Cinicola v.

Scharffenberger, 248 F.3d 110, 120 (3d Cir. 2001)).

          16.    The identity of the proposed assignee of the Leases will not be known until the

conclusion of the auction of the Debtors’ real property and leased assets. Accordingly, to date R+L

has not been provided with any information regarding potential purchasers’ adequate assurance of

future performance under the Leases, particularly with respect to such potential purchasers’

obligations to make the substantial repairs and remediation to the Properties discussed above. R+L

therefore reserves all rights to assert a supplemental objection to the assumption and assignment




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of the Leases unless and until it is provided with information sufficient to satisfy the requirements

of adequate assurance in accordance with section 365(b) of the Bankruptcy Code.

                                 RESERVATION OF RIGHTS

       Nothing in this Objection is intended to be, or should be construed as, a waiver by R+L of

any of its rights under the Leases, the Bankruptcy Code, or applicable law. R+L expressly reserves

all such rights, including, without limitation, the right to: (a) supplement and/or amend the

Objection and to assert any additional objections; (b) raise any and all additional obligations under

the Leases that may arise in the ordinary course of business; (c) assert any rights for

indemnification or contribution arising under the Leases; and (d) assert any further objections as

it deems necessary or appropriate, including, but not limited to, the right to assert the failure of

any prevailing bidder to provide adequate assurance of future performance.

       WHEREFORE, for the foregoing reasons, R+L respectfully requests that any order entered

by this Court authorizing the assumption of the Leases be consistent with this Objection, require

the payment of Cure Costs in the proper amount of not less than $4,658,610.86, and grant to R+L

such other and further relief as the Court deems just and appropriate under the circumstances.


 Dated: November 9, 2023                     CROSS & SIMON, LLC
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